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           EXHIBIT 9
                      Case 4:19-cv-02033-YGR Document 296-2 Filed 09/09/22 Page 2 of 8




                       From: Tabitha Ahearn <                       >
                     Subject: Re: Q4'18 Quarter End Earnings Material
                Received(Date): Wed, 10 Oct 2018 18:42:04 -0700
                          Cc: Jason Malat <                   >, Jessie Zhang
                                <                        >,Ai Ling Loo <                    >
                          To: Luca Maestri <                     >, Saori Casey
                                <                 >,Nancy Paxton <                   >, Chris Kondo
                                <                  >,Stephanie Shingai <                 >, Donal
                                Conroy <                         >,Kevan Parekh <                  >,
                                Matt Blake <                     >,Greg Sandberg
                                <                     >
                 Attachment: PastedGraphic-14.png
                 Attachment: 0 Q4'18 Table of Contents Master 8.17.18.xlsx.pdf
                 Attachment: Q4'18 QE Earnings Reports Final.pdf
                        Date: Wed, 10 Oct 2018 18:42:04 -0700

               Hello Everyone,

               Attached below are the final Quarter End Earnings reports. Items marked "10/10/18" in
               the distribution date have been updated or newly made available.

               The reports have been consolidated into one PDF with a Table of Contents that should
               make it easier to navigate to specific reports.

               To view these reports, open the attached file using preview and navigate to view on the
               preview toolbar. Then select “Table of Contents” and “Single Page.”

               If you have any questions or need any additional information, please let us know.

               Thank you,

               Corporate FP&A

               > On Oct 5, 2018, at 8:17 PM, Tabitha Ahearn <                       > wrote:
               >
               > Hello Everyone,
               >
               > Attached below are the Quarter End Earnings reports. Items marked preliminary will
               be updated when the final versions become available next week.
               >
               > If you have any questions or need any additional information, please let us know.
               >
               > Thank you,
               >




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               > Corporate FP&A
               >
               > Tabitha Ahearn | � Corporate FP&A |
               <                          > | * US:                     (C) Office:
               >
               > <Q4'18 Table of Contents Master.pdf>
               > <Q4'18 QE Earnings Call Reports.pdf>

               Tabitha Ahearn | � Corporate FP&A |                              | * US:                (C)
               Office:




               Hello Everyone,

               Attached below are the final Quarter End Earnings reports. Items marked "10/10/18" in the
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               <Q4'18 Table of Contents Master.pdf>

               <Q4'18 QE Earnings Call Reports.pdf>

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                                                             Q4'18 Quarter End Earnings Call Folder
                                              Document                                              Distribution Date            CQ     CFX   ST


        Total Company:
              1. Key Highlights and Quarter End Analysis Package
                     1a. Key Highlights & Stats                                                          10/10/18                X       X     X
                     1b. Quarter End Analysis Package                                                    10/10/18                X       X     X
              2. Historical Record Tracking                                                                                      X
                     2a. Historical Record Tracking                                          10/5/18 (Prelim) 10/10/18 (Final)   X
                     2b. Units and Revenue Records                                                       10/5/18                 X
              3. Data Sheet
                     3a. Data Sheet (External, Internal and FY)                                          10/5/18                 X       X
                     3b. Data Sheet Revenue Trending                                                     10/5/18                 X
                    3c. Data Sheet Backup                                                                10/5/18                 X
              4. Market Stats
                     4a. Market Stats - Revenue, ST Proxy, and Constant Currency             10/5/18 (Prelim) 10/10/18 (Final)   X       X     X
                     4b. Market Stats - Developed vs Emerging                                10/5/18 (Prelim) 10/10/18 (Final)   X       X     X
                     4c. Market Stats - Revenue by Product Contribution (Q4'18/FY'18)                    10/5/18                 X       X
                     4d. Market Stats - Additional Market Growth                             10/5/18 (Prelim) 10/10/18 (Final)   X             X
              5. Channel Inventory Summary                                                   10/5/18 (Prelim) 10/10/18 (Final)   X             X
              6. Direct / Indirect Revenue Trending                                                      10/5/18                 X
              7. Revenue Linearity Summary                                                               10/5/18                 X

        Product:
             8. iPhone
                   8a. Data Sheet SI Units Trending - iPhone                                             10/5/18                 X
                   8b. Market Stats - SI & ST Units - iPhone                                 10/5/18 (Prelim) 10/10/18 (Final)   X             X
                   8c. Market Stats - SI & ST Units - iPhone Analysis (Hero vs Sustaining)   10/5/18 (Prelim) 10/10/18 (Final)   X             X
                   8d. Market Stats - Preliminary IDC Market Share Analysis - iPhone                     10/5/18                 X
             9. iPad
                   9a. Data Sheet SI Units Trending - iPad                                               10/5/18                 X
                   9b. Market Stats - SI & ST Units - iPad                                   10/5/18 (Prelim) 10/10/18 (Final)   X             X
                   9c. Market Stats - Preliminary IDC Market Share Analysis - iPad                       10/5/18                 X
            10. Mac
                   10a. Data Sheet SI Units Trending - Mac                                               10/5/18                 X
                   10b. Market Stats - SI & ST Units - Mac                                   10/5/18 (Prelim) 10/10/18 (Final)   X             X
                   10c. Market Stats - Preliminary IDC Market Share Analysis - Mac                       10/5/18                 X
            11. Watch
                   11a. Market Stats - SI & ST Units - Watch                                 10/5/18 (Prelim) 10/10/18 (Final)   X             X
                   11b. Market Share Analysis - Watch                                                    10/5/18                 X
            12. Market Stats - Other Products                                                            10/5/18                 X
            13. Key Product Supply Outlook                                                   10/5/18 (Prelim) 10/10/18 (Final)   X

        Services:
            14. Market Stats - Services                                                                  10/5/18                 X

        Supplemental:
            15. iOS Devices Life to Date Performance                                                      10/5/18                X
            16. Channel Sales Programs POS Count                                                          10/5/18                X
            17. WW Storefront Count                                                                       10/5/18                X
            18. WW Total Sales In Transit Summary                                                        10/10/18                X

        Ad Hoc:
            19. iPhone by Generation - Revenue, SI, ST and UB                                10/5/18 (Prelim) 10/10/18 (Final)   X             X
            20. Top iPhone Model by Market                                                               10/5/18                 X
            21. iPhone Weekly Units Trending                                                 10/5/18 (Prelim) 10/10/18 (Final)   X             X




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                                                                                            Case 4:19-cv-02033-YGR Document 296-2 Filed 09/09/22 Page 6 of 8
        Greater China
        (Quarter View)                 Units in thousands, $ in millions
                                                           FY18Q4                                           FY17Q4                                              Y/Y                                                          Sequential                                     Units Mix                       Revenue Mix               Product Revenue Mix Across
        Products                                  Units         Revenue            ASP            Units       Revenue               ASP    Units     Units %     Revenue Revenue %      ASP           Units      Units %        Revenue    Revenue %     ASP      FY18Q4      FY17Q4     FY18Q3   FY18Q4        FY17Q4    FY18Q3    FY18Q4        FY17Q4         FY18Q3

          iPhone 5S                               -                  1              -                 (0)             5             -           0     -100%           (5)     -85%       -              -              0%            (1)       -46%       -           0%          0%         0%       0%            0%        0%
          iPhone SE                                 14               7              467               55             24             436      (41)       -74%         (17)      -72%          31           (3)       -19%             (3)        -34%     (111)        0%          1%         0%       0%            0%        0%
          iPhone 6                                211               58              273           1,663            466              280   (1,452)       -87%        (408)      -88%          (7)       (454)        -68%           (107)        -65%        26        2%         17%         8%       1%            7%        3%
          iPhone 6 Plus                             (0)              1              -                  0              9             -          (0)    -103%           (8)      -94%      -                 0        -71%             (1)        -63%      -           0%          0%         0%       0%            0%        0%
          iPhone 6S                                 12              11              910             110              96             877      (98)       -89%         (86)      -89%       33              (7)       -37%             (8)        -44%     (116)        0%          1%         0%       0%            2%        0%
          iPhone 6S Plus                          550              218              397           1,306            700              536     (756)       -58%        (482)      -69%    (139)            (44)         -7%            (48)        -18%      (51)        6%         13%         7%       3%           11%        4%
          iPhone 7                                150              108              721           1,282            813              634   (1,132)       -88%        (705)      -87%       87            (84)        -36%            (55)        -34%        24        2%         13%         3%       1%           13%        3%
          iPhone 7 Plus                           187              160              854           1,766          1,360              770   (1,579)       -89%      (1,200)      -88%       84            (17)         -8%            (28)        -15%      (65)        2%         18%         3%       2%           21%        3%
          iPhone 8                                698              448              642           1,468          1,034              704     (770)       -52%        (586)      -57%     (63)           (621)        -47%           (425)        -49%      (20)        8%         15%        17%       6%           16%       14%
          iPhone 8 Plus                         1,239              956              772           2,201          1,809              822     (962)       -44%        (853)      -47%     (50)           (943)        -43%           (786)        -45%      (27)       14%         22%        28%      12%           29%       28%
          iPhone X                              1,629            1,583              972             -              -                -      1,629           0%      1,583         0%     972            (936)        -36%         (1,199)        -43%     (113)       19%          0%        32%      20%            0%       44%
          iPhone XS                               897              934            1,042             -              -                -        897           0%        934         0%   1,042             897            0%           934           0%    1,042        10%          0%         0%      12%            0%        0%
          iPhone XS Max                         2,888            3,520            1,219             -              -                -      2,888           0%      3,520         0%   1,219           2,888            0%         3,520           0%    1,219        34%          0%         0%      44%            0%        0%
          iPhone Refurb/As-Is                       80              31              384               70             25             362        11        15%           6        22%       22            (52)        -39%            (30)        -49%      (74)        1%          1%         2%       0%            0%        1%
          Other iPhone                            -                  0              -               -                (2)            -        -             0%          2     -130%      -               -              0%             0           0%      -           0%          0%         0%       0%            0%        0%
          NPI                                   3,785            4,455            1,177           3,669          2,843              775      115          3%       1,611        57%     402           3,785           0%          4,455           0%    1,177       44%          37%         0%     55%           45%         0%
          Hero                                  3,566            2,987              838           3,048          2,173              713      518         17%         814        37%     125          (2,499)       -41%          (2,410)       -45%       (52)      42%          31%       76%      37%           34%       86%
          Sustaining Mid                          337              268              795           1,415            796              563   (1,078)      -76%         (528)     -66%      233            (101)       -23%             (83)       -24%         (6)       4%         14%         6%       3%          13%         6%
          Sustaining Entry                        786              295              375           1,718            503              293     (932)      -54%         (208)     -41%        82           (508)       -39%            (167)       -36%         18        9%         17%       16%        4%            8%        7%
          Refurb                                    80              31              384               70             25             362        11        15%           6        22%       22            (52)       -39%             (30)       -49%       (74)        1%          1%         2%       0%            0%        1%
        iPhone                                  8,554            8,036              939           9,921          6,341              639   (1,367)      -14%        1,695       27%      300             624           8%          1,765         28%       149      100%         100%      100%     100%          100%      100%        70%           65%            66%

            iPad (5th Gen)                           1               9             -              1,782            612            343     (1,781)     -100%        (603)      -98%      (343)          (366)       -100%           (82)         -90%     (250)         0%         69%       13%        1%          58%         9%
            iPad (6th Gen)                      1,631              561             344              -              -              -        1,631          0%        561         0%       344           (340)         -17%         (151)         -21%      (17)       81%            0%      72%      73%            0%       68%
            iPad Pro 10" (1st Gen)                -                  2             -                   2              3         1,506          (2)    -100%          (1)      -30%    (1,506)           -               0%          (0)          -4%      -            0%           0%       0%        0%           0%         0%
            iPad Pro 10" (2nd Gen)                122               82             675              274            183            669       (152)       -55%       (101)      -55%          6           (17)         -12%          (16)         -16%      (32)         6%         11%        5%      11%           17%         9%
          iPad 10"                              1,754              664             379            2,058            819            398       (304)      -15%        (155)     -19%        (19)          (723)        -29%          (251)        -27%         9       88%          80%       91%      86%           78%       88%
            iPad Mini 4                           186               68             368              408            156            383       (222)       -55%        (88)      -56%       (15)              1            1%          (6)          -8%      (32)        9%          16%        7%        9%          15%         7%
          iPad Mini                               186               72             386              408            169            415       (222)      -55%         (98)     -58%        (29)              1           1%           (8)        -10%       (43)        9%         16%        7%        9%          16%         8%
            iPad Pro 13" (1st Gen)                -                  1             -                   2              2         1,119          (2)    -100%          (1)     -49%     (1,119)           -               0%          (0)          -4%      -            0%           0%       0%        0%           0%         0%
            iPad Pro 13" (2nd Gen)                  36              31             862                67             56           837        (31)       -46%        (25)      -45%         25             (8)        -18%           (8)         -21%      (29)         2%           3%       2%        4%           5%         4%
          iPad 13"                                  36              32             886                69             58           843        (33)      -47%         (26)     -45%          43             (8)       -18%            (8)        -21%       (25)        2%           3%       2%        4%            6%        4%
          iPad Refurb/As Is                         27               5             187                33              7           219          (6)      -18%         (2)      -30%       (32)              7          36%            1           17%      (31)         1%           1%       1%        1%           1%         0%
          Other iPad                              -                 (0)            -                -              -              -          -            0%         (0)        0%       -              -               0%          (0)           0%      -            0%           0%       0%        0%           0%         0%
        iPad                                    2,003              773             386            2,568          1,054            410       (565)      -22%        (281)     -27%        (24)          (722)        -27%          (267)        -26%         4      100%         100%      100%     100%          100%      100%         7%           11%            11%

          iMac                                     53               79            1,507              61             87          1,418         (9)       -14%         (7)        -9%      89             (3)           -6%          (19)         -19%     (240)         8%          8%       12%       9%            9%       15%
          Mac Mini                                  9                6              670              10              6            652         (1)         -7%        (0)        -4%      18             (3)         -24%            (2)         -23%        6          1%          1%        3%       1%            1%        1%
          Mac Pro                                   2                5            2,978               3              8          3,190         (1)       -32%         (3)      -37%     (212)             1           57%             1           31%     (597)         0%          0%        0%       1%            1%        1%
         Desktops                                  64               91            1,426              74            102          1,378        (10)      -14%         (11)     -11%        48             (6)          -8%           (19)        -18%      (161)        9%         10%       15%      10%           11%       17%
          MacBook                                  29               30            1,036              61             70          1,162        (32)       -52%        (40)      -57%     (126)             6           24%             2            8%     (159)         4%          8%        5%       3%            8%        4%
          MacBook Air                             233              186              796             315            268            852        (82)       -26%        (83)      -31%      (56)            59           34%            27           17%     (116)       34%          41%       38%      21%           29%       25%
          MacBook Pro                             355              588            1,656             318            485          1,526         37         12%        103        21%      131            167           88%           259           79%      (91)       51%          41%       41%      65%           52%       52%
         Portables                                617              803            1,302             693            824          1,188        (76)      -11%         (20)       -2%      114            231          60%            288          56%       (35)      89%          90%       84%      89%           89%       82%
         Mac Refurb/As Is                           9               10            1,088               1              2          1,332          8       570%           8      448%      (244)             3           47%             3           42%      (40)         1%          0%        1%       1%            0%        1%
        Mac                                       689              904            1,311             768            927          1,207        (79)      -10%         (23)       -3%      104            228          50%            271          43%       (61)     100%         100%      100%     100%          100%      100%         8%            9%             7%

         App Store                                                 961                                             877                                               84       10%                                                   55            6%                                                76%           76%       77%
           Music Downloads                                           1                                               1                                                0         9%                                                  (0)          -2%                                                   0%           0%         0%
           Apple Music                                              13                                               9                                                4        50%                                                   0             4%                                                  1%           1%         1%
           Match                                                     0                                               0                                               (0)      -32%                                                  (0)          -7%                                                   0%           0%         0%
         Music                                                      14                                              10                                                4       46%                                                    0            3%                                                  1%            1%        1%
         Video                                                       2                                               2                                                1        43%                                                   0           13%                                                   0%           0%         0%
         iCloud                                                     24                                              11                                               13      116%                                                   (3)         -12%                                                   2%           1%         2%
         Advertising                                               139                                             122                                               17        14%                                                  20           17%                                                 11%           11%       10%
         AppleCare                                                  77                                              69                                                8        12%                                                   7           10%                                                   6%           6%         6%
         Other                                                      42                                              65                                              (22)      -34%                                                   5           13%                                                   3%           6%         3%
        Services                                                 1,260                                           1,155                                              105         9%                                                  85            7%                                               100%          100%      100%        11%           12%            12%

         Watch                                    300              118             392              255             89              349       46        18%          29        33%       43              (0)           0%            (1)          -1%      (3)                                      27%            27%       27%
           iPhone Accys                           325               13              41              292             11               36       33         11%          3        27%        5              63          24%              2          22%       (1)                                        3%            3%        3%
           Mac Accys & Displays                   140               13              91              279             21               75     (139)      -50%          (8)      -40%       15             (17)        -11%             (1)        -10%        1                                         3%            6%        3%
           iPad Accys                             269               24              89              246             25              103       24         10%         (1)       -5%      (14)            (61)        -18%             (7)        -22%       (4)                                        5%            8%        7%
           Connectivity Accys                     864               19              23              896             20               22      (32)        -4%         (0)       -2%        0            (256)        -23%             (0)           0%       5                                         4%            6%        5%
           Watch Accys                             59                3              57               61              4               59       (3)        -4%         (0)       -8%       (2)            (12)        -17%             (1)        -21%       (3)                                        1%            1%        1%
           App-Enabled Accys                       18                2             119               22              3              151       (3)      -16%          (1)      -33%      (32)             (4)        -17%             (1)        -28%      (19)                                        0%            1%        1%
           Apple TV Accessories                     1                0              29                1              0               24        0         10%          0        31%        5              (0)         -1%              0            6%       2                                         0%            0%        0%
           Misc Accessories                       278                0               0                2              0               32      276     15368%          (0)      -43%      (32)            278     -220952%             (0)          -8%       0                                         0%            0%        0%
         Accessories                            1,955               75              38            1,799             84               47      156          9%         (9)     -10%        (8)             (8)          0%             (7)         -9%       38                                       17%           26%       19%
         Beats                                    518               68             131              570             69              121      (52)        -9%         (1)       -1%       10             (36)         -6%              9          15%       24                                        15%           21%       14%
         Audio*                                 1,517              173             114              728             75              103      789       108%          98      130%        11              82            6%             5            3%      (3)                                       39%           23%       39%
         Apple TV                                  15                3             170               13              2              160        2         19%          1        26%        9               1            8%             0            6%      (4)                                        1%            1%        1%
         iPod                                       8                2             218               46              5              112      (38)      -83%          (3)      -67%      105              (0)         -1%             (0)          -8%     (16)                                        0%            2%        0%
        Other Products                          4,314              438             102            3,411            324               95      903        26%         114       35%         7              39           1%              6           1%        0                                      100%          100%      100%         4%            3%             5%
        Grand Total                                             11,411                                           9,801                                            1,609       16%                                                 1,860         19%

        *Audio is a new category which includes: Headphones (excluding Beats), HomePods, and AirPods
        Data Sheet Backup is generated on current hierarchy. Numbers are not rounded and may have small deltas vs the Data Sheet.
        iPhone Mapping for FY'18: NPI (XS/XS Max), Hero (X/8/8 Plus), Sust Mid (7/7 Plus), Sust Entry (all others excl refurb)
        iPhone Mapping for FY'17: NPI (8/8 Plus), Hero (7/7 Plus), Sust Mid (6S/6S Plus), Sust Entry (all others excl refurb)
       3c. Data Sheet Backup Total Apple                                                                                                                                                       CONFIDENTIAL                                                                                                                                                10/9/18 4:12 PM




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    Market Stats - Developed vs Emerging ($M)

                                                                   Revenue Trending                              YoY Revenue Growth Trend                           ST Proxy Trending                              YoY ST Proxy Growth Trend                   Current Quarter Revenue Performance     FY Revenue Performance      FY ST Proxy Performance
                                                                                                                                                                                                                                                                          QoQ      YoY
                                                      Q4'17     Q1'18     Q2'18     Q3'18     Q4'18     Q4'17     Q1'18    Q2'18     Q3'18    Q4'18    Q4'17     Q1'18     Q2'18     Q3'18      Q4'18     Q4'17     Q1'18    Q2'18    Q3'18    Q4'18    Mix     QoQ      @CFX @CFX CFX $∆ CFX %∆       FY'17      FY'18     YoY    FY'17      FY'18       YoY

       US                                             $20,129   $30,561   $21,669   $21,533   $24,299      14%        9%       17%      22%      21%   $19,169   $30,151   $22,357   $21,655    $23,242     13%         9%      20%     21%       21%    39%      13%    13%     21%      $0     0%     $84,339  $98,061    16%     $83,408 $97,404        17%
       Japan                                           $3,858    $7,237    $5,468    $3,868    $5,160     -11%       26%       22%       7%      34%    $3,873    $5,983    $5,770    $4,595     $4,699       5%        3%      25%     17%       21%     8%      33%    38%     34%     -$2     0%     $17,733 $21,733     23%     $18,235 $21,048        15%
       UK                                              $2,845    $3,861    $2,516    $2,502    $3,353       1%        3%       -5%       8%      18%    $2,590    $3,860    $2,674    $2,561     $2,992      -4%        1%       0%       9%      15%     5%      34%    41%     17%     $18     1%     $11,556 $12,231       6%    $11,430 $12,087          6%
       Germany                                         $1,612    $2,750    $1,776    $1,473    $2,046      12%       19%        3%      20%      27%    $1,520    $2,680    $1,806    $1,577     $1,848     13%        10%      10%     24%       22%     3%      39%    44%     27%      $1     0%      $6,891   $8,045    17%      $6,864   $7,911       15%
       Canada                                          $1,633    $2,370    $1,511    $1,494    $1,859      15%       18%       23%      19%      14%    $1,577    $2,275    $1,561    $1,499     $1,762     15%        11%      26%     21%       12%     3%      24%    26%     16%    -$39    -2%      $6,121   $7,233    18%      $6,104   $7,097       16%
       Australia                                       $1,227    $2,335    $1,403    $1,292    $1,474       4%       21%        3%      13%      20%    $1,185    $2,042    $1,634    $1,367     $1,371       6%       11%      23%     13%       16%     2%      14%    18%     27%    -$83    -7%      $5,648   $6,505    15%      $5,556   $6,414       15%
       France                                          $1,176    $1,861    $1,147     $919     $1,275      13%        7%        9%       8%       8%    $1,102    $1,781    $1,165    $1,027     $1,177     10%         6%      14%     12%        7%     2%      39%    43%      9%     -$3     0%      $4,815   $5,202      8%     $4,729   $5,151         9%
       Italy                                             $595    $1,199     $713      $521       $784      20%        2%        9%       1%      32%     $578     $1,083     $748      $628       $710      13%        -5%      14%     20%       23%     1%      51%    55%     32%     -$2     0%      $2,938   $3,217    10%      $2,900   $3,169         9%
       Korea                                             $506    $1,939     $887      $593       $668      15%       16%        6%      19%      32%     $653     $1,281     $989      $915       $812      32%        -4%      16%     37%       24%     1%      13%    13%     26%     $29     6%      $3,508   $4,087    17%      $3,511   $3,998       14%
       Sweden                                            $471      $634     $445      $483       $657      26%       -1%       -1%      13%      40%     $454      $644      $437      $509       $601      23%         4%       1%     23%       32%     1%      36%    41%     50%    -$51   -11%      $1,990   $2,220    12%      $1,920   $2,191       14%
       Spain                                             $569      $925     $552      $517       $619      34%        7%        9%      17%       9%     $529      $838      $628      $537       $575      23%         2%      17%     21%        9%     1%      20%    24%      9%     -$1     0%      $2,379   $2,612    10%      $2,330   $2,577       11%
       Netherlands                                       $450      $673     $455      $377       $505       1%        5%       -7%       2%      12%     $436      $645      $471      $420       $464        4%       -2%      -2%     12%        7%     1%      34%    38%     13%     -$2     0%      $1,956   $2,011      3%     $1,952   $2,000         2%
       Switzerland                                       $383      $743     $434      $342       $479      17%       13%       11%      23%      25%     $361      $678      $451      $393       $441      19%        11%      18%     25%       22%     1%      40%    42%     28%    -$10    -3%      $1,712   $1,997    17%      $1,670   $1,964       18%
       Singapore                                         $329      $621     $338      $227       $394       8%        9%      -20%     -10%      19%     $296      $547      $362      $301       $334      15%        -4%     -10%      -2%      13%     1%      73%    78%     19%      $0     0%      $1,573   $1,579      0%     $1,572   $1,544        -2%
       Norway                                            $230      $383     $302      $251       $299       5%       29%       64%      27%      30%     $226      $361      $300      $264       $273        1%       22%      60%     36%       21%     0%      19%    22%     32%     -$5    -2%        $909   $1,236    36%        $903   $1,198       33%
       Denmark                                           $254      $385     $269      $194       $259       1%        7%       -1%     -17%       2%     $251      $367      $274      $216       $261        4%        2%       3%      -8%       4%     0%      33%    38%      2%     -$0     0%      $1,118   $1,107     -1%     $1,110   $1,117         1%
       Belgium and Luxembourg                            $214      $398     $262      $178       $255       6%       13%       18%      -1%      20%     $217      $351      $269      $211       $246      11%         5%      20%     15%       13%     0%      43%    47%     20%     -$0     0%        $969   $1,094    13%        $959   $1,078       12%
       Austria                                           $151      $296     $182      $129       $191       2%       11%       17%       7%      26%     $146      $282      $184      $150       $165      12%         5%      21%     17%       13%     0%      47%    44%     20%     $10     7%        $695     $798    15%        $697    $781        12%
       New Zealand                                       $131      $234     $168      $168       $157       6%        0%       23%      17%      20%     $140      $207      $175      $163       $154      14%         1%      16%     16%       10%     0%       -7%    -2%    28%    -$11    -9%        $644     $726    13%        $636    $699        10%
       Finland                                           $104      $164     $135        $90      $118      -5%       -2%       -2%     -13%      13%     $107      $158      $119      $107       $114       -3%       -5%      -7%       0%       6%     0%      32%    36%     13%     -$0     0%        $513     $507     -1%       $509    $497         -2%
       Ireland                                            $83      $121       $95       $71       $90      -6%       -5%        9%     -21%       8%       $83     $127        $86       $82        $86      -1%        2%      -5%      -7%       4%     0%      27%    34%     11%     -$2    -2%        $387     $377     -3%       $386    $381         -1%
       Portugal                                           $78      $121       $88       $72       $88      33%       18%       16%      12%      13%       $71     $119        $85       $75        $82     25%        10%      24%     19%       15%     0%      22%    27%     13%     -$0     0%        $320     $368    15%        $310    $360        16%
       Iceland                                            $12       $12       $14        $8       $10      37%      -13%       56%       7%     -12%       $12       $12       $14        $8        $11     37%       -13%      57%       7%     -12%     0%      32%    32%    -12%      $0     0%         $42      $44      5%        $42      $44         5%
    Developed Countries                               $37,048   $59,831   $40,835   $37,309   $45,047       9%      11%       13%      16%      22%    $35,584   $56,481   $42,568   $39,268    $42,425     11%         7%     17%      19%      19%     72%      21%    22%    22%    -$153     0%    $158,784 $183,021    15%    $157,760 $180,742       15%

      China                                            $8,086   $14,419   $10,047    $7,595    $9,115     15%       12%        15%     10%       13%    $7,467   $13,277   $10,570    $8,208     $8,425      13%        7%     14%        9%      13%    14%       20%    28%    13%    -$50     -1%    $36,606   $41,175   12%     $36,646   $40,480      10%
      Hong Kong                                        $1,161    $2,401    $2,362    $1,487    $1,572      -9%       -3%       64%    114%       35%    $1,129    $2,371    $2,326    $1,578     $1,332     -11%      -10%     88%      73%       18%     2%        6%     6%    35%     -$0      0%     $5,779    $7,822   35%      $5,907    $7,606      29%
      Russia                                             $748    $1,112      $820      $643      $934     84%       47%        81%     47%       25%     $666     $1,039     $757      $660       $747       75%       44%     67%      47%       12%     1%       45%    55%    35%    -$80   -11%      $2,394    $3,508   47%      $2,294    $3,203      40%
      Taiwan                                             $554    $1,136      $616      $469      $724     19%       28%        13%     20%       31%     $569      $982      $687      $542       $572       32%       16%     33%      28%        1%     1%       54%    55%    29%     $12      2%     $2,379    $2,945   24%      $2,356    $2,783      18%
      Saudi Arabia                                       $420      $741      $431      $678      $658     56%       34%        20%    121%       57%     $286      $676      $474      $645       $503       67%       23%     44%     115%       76%     1%       -3%     nm    53%     $16      4%     $1,638    $2,508   53%      $1,464    $2,297      57%
      Other Central and Eastern Europe                   $450      $726      $590      $458      $541     46%       34%        36%      -7%      20%     $458      $659      $540      $509       $528       51%       20%     50%       -2%      15%     1%       18%    21%    21%     -$1      0%     $1,915    $2,315   21%      $1,886    $2,235      19%
      India                                              $518      $772      $406      $326      $513    101%       17%       -11%    -18%       -1%     $594      $664      $451      $436       $429       95%        4%       4%     24%      -28%     1%       57%    65%     6%    -$37     -7%     $2,031    $2,018    -1%     $2,021    $1,980       -2%
      Mexico                                             $477      $778      $433      $574      $463     35%       24%        11%     22%       -3%     $422      $701      $501      $517       $472       14%       17%     19%      15%       12%     1%      -19%   -17%     4%    -$33     -7%     $1,966    $2,249   14%      $1,895    $2,191      16%
      Rest of Latin America (ALAC)                       $380      $734      $625      $434      $438     20%       34%        25%       3%      15%     $405      $641      $654      $475       $420       24%       20%     35%        8%       4%     1%        1%     2%    15%      $1      0%     $1,849    $2,231   21%      $1,864    $2,190      18%
      Other Middle East                                  $322      $492      $286      $433      $348    106%       55%       -31%     45%        8%     $294      $363      $518      $403       $306       48%        7%     50%        2%       4%     1%      -20%   -15%    14%    -$20     -6%     $1,348    $1,558   16%      $1,373    $1,589      16%
      Brazil                                             $359      $552      $441      $333      $334     15%        -3%        3%      -6%      -7%     $379      $495      $404      $378       $355       21%       -7%      -9%      -1%      -6%     1%        0%    10%     9%    -$56   -16%      $1,711    $1,661    -3%     $1,734    $1,632       -6%
      UAE                                                $288      $651      $392      $356      $333     35%       34%         8%     33%       16%     $277      $556      $413      $340       $346       24%       21%     15%        6%      25%     1%       -6%   -10%    11%     $13      5%     $1,406    $1,733   23%      $1,419    $1,656      17%
      Med Africa                                         $257      $623      $464      $388      $333     29%       20%        44%     30%       30%     $277      $520      $461      $418       $331       37%       20%     20%      37%       20%     1%      -14%   -13%    31%     -$3     -1%     $1,399    $1,809   29%      $1,401    $1,731      24%
      Turkey                                             $401      $855      $632      $398      $298     40%       12%        34%      -4%     -26%     $396      $743      $617      $477       $292       11%        5%     43%        0%     -26%     0%      -25%   -15%     0%   -$103   -26%      $2,056    $2,183     6%     $2,014    $2,129        6%
      Thailand                                           $242      $805      $400      $330      $264      -1%      23%        -4%     10%        9%     $328      $560      $436      $406       $313       18%       -2%     14%      12%       -4%     0%      -20%   -17%     7%      $5      2%     $1,612    $1,799   12%      $1,644    $1,716        4%
      Poland                                             $148      $239      $202      $167      $199     10%       13%        12%     33%       35%     $147      $245      $191      $165       $182       18%        5%     21%      28%       24%     0%       19%    25%    36%     -$2     -1%       $665     $807    21%        $666      $784      18%
      Czech Republic and Slovakia                        $206      $279      $200      $122      $162     52%       22%        -4%    -35%      -21%     $185      $264      $170      $171       $155       12%       15%       4%    -28%      -16%     0%       32%    37%   -22%      $2      1%       $832     $763     -8%       $816      $761       -7%
      Malaysia                                           $119      $364      $193      $138      $145     15%       12%        -5%    -12%       22%     $158      $256      $228      $183       $161       23%       -6%       4%       5%       2%     0%        5%     8%    16%      $7      6%       $805     $839      4%       $823      $828        1%
      Philippines and Guam                               $100      $182      $199      $182      $128       4%        4%       44%     96%       28%     $117      $146      $183      $201       $142       10%       -1%     29%      72%       22%     0%      -30%   -30%    28%     -$0      0%       $507     $691    36%        $523      $672      29%
      Vietnam/Cambodia                                    $72      $223      $216      $116      $103    -25%        -4%       39%     50%       43%     $119      $152      $192      $172       $129       48%       -9%     32%      34%        8%     0%      -11%   -11%    43%      $0      0%       $537     $658    22%        $560      $645      15%
      Chile                                               $86      $169      $139      $144       $98      -4%      15%         6%       6%      14%     $119      $142      $150      $139       $122        8%       -1%     33%      22%        3%     0%      -32%   -29%    11%      $2      2%       $499     $549    10%        $490      $554      13%
      Indonesia                                           $59       $96      $109       $73       $62     20%      148%        11%     46%        3%       $68       $83       $99       $97        $71      25%       58%     99%      30%        4%     0%      -16%   -15%     7%     -$2     -3%       $247     $340    38%        $245      $349      43%
    Emerging Countries                                $15,531   $28,462   $20,302   $15,956   $17,853     21%       15%       20%      19%      15%    $14,942   $25,639   $21,116   $17,234    $16,426     18%         8%     25%      18%      10%     28%      12%    17%    17%    -$380    -2%     $70,450   $82,574   17%     $70,307   $80,415      14%

    TOTAL APPLE                                       $52,579   $88,293   $61,137   $53,265   $62,900     12%       13%       16%      17%      20%    $50,525   $82,120   $63,684   $56,502    $58,852     13%        7%      20%      18%      16%    100%      18%    21%    21%    -$533   -1%     $229,234 $265,595    16%    $228,067 $261,157       15%

    Note (1): FX Hedge included in Total Europe for Constant Currency calculation.                                                                               All-Time Quarter/Year Record
    Note (2): iTunes revenues based on sales orgs. Beginning in Q1'13 iTunes revenues were allocated to the respective markets.                                  >25% Y/Y Growth
    Note (3): Numbers are not rounded and may have small deltas vs the Data Sheet.                                                                               Positive Growth




           4b. Market Stats - Developed vs Emerging                                                                                                                                   CONFIDENTIAL                                                                                                                                     10/8/18 12:46 PM




Highly Confidential                                                                                                                                                                                                                                                                                                 APL-SECLIT_00281855
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                                                   Preliminary IDC Market Share Analysis - iPhone                                                                                                                                                                                                                                         Preliminary IDC Market Share as of August 24, 2018.


                                                                                                             Apple Reported                                                                                                                                       IDC Smartphone Market
                                                                                                              YoY (Units)                                               YoY (Units)                                                                     Apple IDC Unit Share                                                                      Apple IDC Dollar Share
                                                                                                                                                                                                           Apple vs                                                           LY         TY                                                                                  LY            TY
                                                                                          Q4'17      Q1'18       Q2'18        Q3'18     Q4'18      Q4'17     Q1'18        Q2'18       Q3'18      Q4'18     Market        Q4'17       Q1'18     Q2'18    Q3'18      Q4'18     QoQ Δ      QoQ Δ       YoY Δ        Q4'17     Q1'18       Q2'18       Q3'18       Q4'18        QoQ Δ         QoQ Δ          YoY Δ

                                                   US                                         4%        -7%          8%          13%        9%         3%       -8%            7%       -15%         0%       9% pts        35%          44%      39%      43%       40%      3% pts     -3% pts      5% pts        58%        70%         62%           64%       59%         6% pts       -5% pts        1% pts

                                                   Canada                                     5%        13%         14%          10%        6%         2%        3%           10%        -1%        -1%       7% pts        47%          59%      47%      51%       51%      6% pts     0% pts       3% pts        58%        68%         58%           62%       59%         7% pts       -2% pts        2% pts

                                              (E) Mexico                                      16%         -2%        10%         22%       -32%        9%       -16%          -9%          7%       -9%      -23% pts        6%          7%        7%       9%        4%      -2% pts     -5% pts     -1% pts       18%        26%         24%           24%       20%          -5% pts       -4% pts      1% pts
                                              (E) Brazil                                      -4%       -18%         -5%         -5%        -3%        3%         -1%         -3%         -7%       -1%        -3% pts       4%          6%        5%       4%        4%       0% pts      0% pts      0% pts       12%        17%         16%           11%       15%           1% pts        4% pts      3% pts
                                              (E) Chile*                                     -34%         -2%         7%         -8%        39%        2%       -12%          -8%          8%       -2%       41% pts        4%          8%        9%      10%        6%      -8% pts     -4% pts      2% pts       13%        27%         26%           28%       13%        -17% pts      -15% pts      -1% pts
                                              (E) Other Latin America (ALAC)                  29%        21%          8%          3%        13%       20%          1%          0%         -3%       -4%       17% pts        3%          5%        4%       3%        3%       0% pts      0% pts      0% pts        9%        16%         12%           11%       11%          -1% pts        0% pts      2% pts
                                                  Latin America                                7%        -3%          4%          6%        -7%       11%        -5%          -3%        -2%        -4%       -3% pts        4%          6%        5%       5%        4%     -1% pts     -1% pts      0% pts        12%        19%         16%           15%       14%         -2% pts       -1% pts      2% pts

                                          Americas Geo                                        4%        -5%          8%          12%        7%         7%       -6%            3%        -9%        -2%      10% pts        21%          29%      25%      25%       24%      1% pts     -1% pts      3% pts        44%        58%         49%           49%       46%         4% pts       -3% pts        2% pts

                                                   UK                                          -8%      -12%        -28%         -13%         1%       -3%      -13%          -20%       -12%        -7%       8% pts       42%          48%      42%      41%       46%       3% pts     5% pts       4% pts       58%        67%         59%           54%       61%          7% pts        7% pts       3% pts
                                                   Germany                                     -1%         8%         -3%         12%         5%       -8%        -2%           -5%        -2%       -3%       8% pts       25%          34%      29%      24%       29%       5% pts     5% pts       3% pts       40%        54%         43%           37%       44%         10% pts        8% pts       4% pts
                                                   France                                       1%        -5%         -6%        -13%      -16%         0%        -9%           -4%        -1%      -10%      -6% pts       19%          27%      20%      15%       18%       2% pts     3% pts      -1% pts       37%        50%         40%           31%       47%          6% pts       16% pts      10% pts
                                                   Italy                                      37%       -10%          -4%        -29%      -13%        -2%        -5%           -4%        -1%        3%     -16% pts       15%          22%      14%       9%       13%       2% pts     4% pts      -2% pts       26%        43%         28%           23%       38%          4% pts       15% pts      11% pts
                                                   Spain                                      37%         -2%         -8%          2%      -25%        -6%      -15%            -8%         0%        0%     -24% pts       14%          18%      12%      11%       11%       3% pts     0% pts      -3% pts       28%        39%         27%           23%       32%          8% pts        9% pts       4% pts
                                                   Switzerland                                 -2%        -7%        23%          14%       17%       12%         -7%           -5%        -3%        5%      12% pts       32%          50%      45%      32%       36%       2% pts     4% pts       4% pts       43%        65%         60%           46%       54%          4% pts        8% pts      12% pts
                                                   Netherlands                               -24%       -10%        -23%         -20%        -6%        0%      -16%          -11%         -7%       -3%      -4% pts       21%          35%      26%      18%       20%      -1% pts     2% pts      -1% pts       34%        54%         42%           29%       49%          1% pts       19% pts      15% pts
                                                   Sweden                                     23%       -22%        -20%          -2%       28%       21%       -14%          -13%       -11%         9%      19% pts       45%          49%      51%      39%       53%       1% pts    14% pts       8% pts       55%        66%         65%           53%       60%         -2% pts        7% pts       5% pts
                                                   Denmark                                   -20%       -11%        -23%         -46%      -35%         2%        -8%           -6%        -8%        6%     -41% pts       41%          52%      48%      40%       24%      -2% pts   -16% pts     -17% pts       51%        68%         61%           54%       57%         -2% pts        4% pts       6% pts
                                                   Norway                                    -18%         -3%        73%           4%       31%         8%        -6%           -7%      -10%        -5%      37% pts       31%          46%      38%      36%       42%      -8% pts     7% pts      12% pts       40%        61%         55%           49%       52%         -7% pts        3% pts      12% pts
                                                   Belgium and Luxembourg                    -10%          0%        21%         -25%        -7%        5%        -3%           -3%        -9%       -7%       0% pts       23%          40%      35%      20%       23%      -2% pts     3% pts       0% pts       41%        63%         56%           35%       52%          0% pts       17% pts      11% pts
                                                   Austria                                   -16%          1%        17%         -19%       12%         1%        -8%           -5%        -4%        2%      10% pts       24%          37%      31%      19%       27%      -3% pts     7% pts       2% pts       35%        59%         48%           32%       48%         -3% pts       16% pts      13% pts
                                                   Finland                                     -4%         1%          1%        -35%      -26%       10%         -3%           -2%        -2%       -8%     -18% pts       23%          35%      38%      26%       19%      -8% pts    -8% pts      -5% pts       34%        55%         57%           38%       44%         -6% pts        6% pts      10% pts
                                                   Ireland                                   -21%       -16%         12%         -27%        -3%        0%        -6%           -2%        -3%        5%      -9% pts       23%          28%      31%      20%       21%      -8% pts     1% pts      -2% pts       38%        52%         50%           35%       50%         -6% pts       16% pts      13% pts
                                                   Portugal                                     9%         6%        16%         -12%      -22%         2%        -4%           -3%        -2%       -7%     -15% pts       12%          13%      14%       9%       10%      -2% pts     1% pts      -2% pts       23%        28%         30%           19%       28%         -1% pts        8% pts       5% pts
                                                   Western Europe                             -1%        -6%        -11%        -10%        -3%       -2%        -9%           -8%        -5%        -3%      1% pts        25%          33%      27%      23%       26%      1% pts     3% pts       0% pts        41%        55%         46%           39%       48%         5% pts       10% pts       7% pts

                                              (E) Turkey                                     27%         4%          39%         -20%      -38%       -5%       -10%            6%        -2%        -8%     -30% pts       20%          28%      25%      17%       13%       0% pts     -3% pts     -6% pts       33%        51%         43%           33%       31%         -1% pts       -2% pts      -2% pts
                                              (E) UAE                                        40%         7%          -3%          43%      -13%        1%         4%           -4%       -15%       -17%        4% pts      19%          25%      24%      22%       27%       1% pts      5% pts      9% pts       36%        54%         47%           44%       38%          1% pts       -7% pts       2% pts
                                              (E) Saudi Arabia                               75%         3%          22%          85%       21%        2%       -19%          -29%       -19%       -28%      48% pts       23%          30%      28%      29%       41%       0% pts    12% pts     18% pts        40%        58%         49%           47%       45%         -1% pts       -2% pts       6% pts
                                              (E) Other Middle East                         111%        28%         -31%          41%      -25%       26%        -7%           20%         3%        -8%     -17% pts       11%          16%      12%      15%        3%       0% pts   -12% pts      -8% pts       27%        43%         31%           36%       32%         -1% pts       -4% pts       5% pts
                                              (E) Med Africa                                  2%        -3%          39%          22%       23%        4%       -14%           -4%         6%         3%      20% pts        2%           3%       2%       2%        1%       0% pts      0% pts     -1% pts       11%        16%         11%            8%       11%         -2% pts        3% pts       1% pts
                                                  Middle East and Africa                     46%         6%         13%          30%        -8%        8%      -12%             1%         3%        -3%      -5% pts        7%          10%       9%       8%        5%      0% pts     -3% pts     -2% pts        22%        35%         27%           25%       23%        -1% pts       -2% pts       1% pts

                                              (E) Russia*                                    63%         32%         49%          28%     -11%          0%      -16%           1%        11%        -5%        -6% pts      18%          19%      19%      13%       15%      7% pts      2% pts      -3% pts       43%        48%         44%           32%       43%         16% pts      11% pts         0% pts
                                              (E) Poland                                      -2%       -16%         -1%           4%      15%          9%        9%           2%         6%         8%         7% pts       8%           9%      11%       7%        8%       1% pts     2% pts       1% pts       15%        23%         29%           14%       23%         -4% pts       8% pts         8% pts
                                              (E) Czech Republic and Slovakia                41%          9%        -13%         -64%     -42%        -43%      -16%           8%        25%        40%      -82% pts       12%          14%      11%      11%       29%       3% pts    19% pts     17% pts        27%        32%         25%           23%       28%          7% pts       5% pts         1% pts
                                              (E) Other Central and Eastern Europe           18%         14%         14%         -27%       -4%        16%       -7%          10%        -1%        -1%        -3% pts       7%           8%       8%       6%        6%       1% pts     0% pts       0% pts       17%        24%         21%           14%       18%          3% pts       3% pts         1% pts
                                                  Central and Eastern Europe                 42%        18%         22%         -13%      -11%          6%     -10%            6%         5%        -1%       -9% pts       11%          13%      12%       9%       10%      4% pts     1% pts      -1% pts        27%        33%         30%           21%       28%         7% pts       6% pts         1% pts

                                              (E) India                                      81%         1%         -22%        -52%      -28%        21%       18%           11%        20%        14%     -42% pts         2%          3%        2%       1%        1%      0% pts     0% pts      -1% pts         7%        14%          6%           3%          5%       -1% pts           2% pts    -2% pts

                                          Europe Geo                                         13%        -1%          -3%         -6%       -6%         8%       -5%            1%         6%         3%      -9% pts        11%          16%      12%       9%        9%      0% pts     0% pts      -1% pts        28%        43%         33%           26%       31%         2% pts           5% pts     3% pts

                                              (E) China                                       12%        -2%         -1%        -17%       -19%        -1%      -16%          -16%        -6%        -7%     -13% pts        8%          13%      11%       7%        7%       1% pts     0% pts     -1% pts        19%        34%         31%           18%        24%         1% pts          6% pts     5% pts
                                              (E) Hong Kong                                  -38%       -21%         44%        169%        29%        -2%        5%           25%        11%         3%      25% pts       36%          54%      48%      33%       89%       8% pts    56% pts     53% pts        47%        67%         61%           46%        49%        10% pts          3% pts     2% pts
                                              (E) Taiwan                                     -14%         8%         -5%        -16%        30%        -4%       -8%           -9%       -10%        -7%      38% pts       18%          37%      23%      17%       25%      -1% pts     8% pts      8% pts        37%        65%         45%           36%        42%         1% pts          6% pts     4% pts

                                          Greater China Geo                                   4%        -4%          5%          -9%      -14%        -1%      -15%          -15%        -6%        -7%      -7% pts         8%          14%      12%       7%        8%      1% pts     1% pts       0% pts        20%        36%         32%           19%       25%         1% pts           6% pts     5% pts

                                          Japan Geo                                         -29%        23%         11%          -8%       27%        -8%       14%            9%         1%         3%      24% pts        40%          56%      50%      35%       49%      2% pts    15% pts       9% pts        52%        70%         65%           45%       46%         1% pts           0% pts    -6% pts

                                                   Australia                                 -20%       15%         -15%          9%       39%          1%       12%           7%        -11%       -3%      42% pts        37%          56%      44%      45%       53%       0% pts     7% pts      16% pts       52%        76%         53%           59%       54%          3% pts       -5% pts        2% pts
                                                   New Zealand                               -17%        -7%         36%          9%       57%        -11%      -16%          29%          1%        3%       54% pts       22%          35%      39%      32%       34%      -8% pts     1% pts      11% pts       41%        66%         58%           48%       41%         -4% pts       -7% pts        0% pts
                                                   ANZ                                      -20%        12%         -11%          9%       41%         -1%        6%          10%         -9%       -2%      43% pts        34%          53%      43%      43%       49%     -1% pts     7% pts      15% pts        51%        75%         53%           57%       52%         2% pts       -5% pts        1% pts

                                                   Korea                                     -7%         9%         -11%        -15%       14%        56%        9%           53%         1%       -18%      32% pts         9%          41%      14%      11%       13%     -3% pts     2% pts       4% pts         8%        50%         15%           12%       13%        -5% pts           1% pts     5% pts

                                                  Singapore                                   16%       -11%         -47%       -48%      -27%        -1%       -12%          -24%       -29%       -6%      -22% pts       43%          55%      36%      26%       33%       8% pts      7% pts    -10% pts       57%        67%         49%           42%       62%         15% pts      20% pts        5% pts
                                              (E) Thailand                                   -22%         9%         -23%       -16%      -11%        27%         0%          -29%         9%        5%      -16% pts        5%          16%       8%       5%        4%      -2% pts     -1% pts      -1% pts      12%        42%         26%           15%       17%         -8% pts       2% pts        5% pts
                                              (E) Malaysia                                    23%         0%         -28%       -26%         0%       -7%        -6%           -8%        -7%        7%       -6% pts        6%          14%       7%       5%        6%       0% pts      1% pts       0% pts      15%        37%         20%           13%       21%         -2% pts       8% pts        6% pts
                                              (E) Philippines and Guam                       -19%       -11%          18%         7%        -5%       -4%       -10%            9%         3%        5%      -10% pts        3%           4%       5%       3%        2%       0% pts      0% pts       0% pts      11%        22%         21%           11%       10%         -1% pts      -1% pts       -1% pts
                                              (E) Vietnam/Cambodia                           -46%       -13%          16%        36%       32%         6%         2%           18%         8%        5%       27% pts        2%           5%       4%       3%        2%       0% pts     -1% pts       0% pts       7%        17%         17%            7%        6%          0% pts      -1% pts       -1% pts
                                              (E) Indonesia                                   50%         8%          27%       159%      -51%        -1%        -9%            5%        18%       17%      -68% pts        1%           1%       1%       1%        1%       1% pts     -1% pts      -1% pts       6%         4%          5%            5%        4%          3% pts       0% pts       -2% pts
                                                  South Asia                                  -8%        -2%        -16%         -6%      -11%         3%        -8%           -6%         3%        4%      -15% pts        4%           7%       5%       3%        3%      0% pts     -1% pts      -1% pts       13%        27%         18%           11%       13%         0% pts       2% pts        0% pts

                                          Rest of Asia Pacific Geo                          -13%         6%         -13%         -2%       13%         7%       -5%            0%         2%         1%      11% pts         6%          15%       8%       6%        6%      0% pts     0% pts       0% pts        16%        41%         21%           17%       18%        -2% pts           2% pts     2% pts

                                          TOTAL                                               3%        -1%          3%           1%        0%         4%       -8%           -3%        -2%        -2%       2% pts        12%          20%      16%      12%       13%      1% pts     0% pts       0% pts        30%        47%         38%           30%       33%         2% pts           3% pts     3% pts

                                                   Developed Countries                        -3%       -2%           1%           3%       8%         2%        -5%            4%        -9%        -2%     10% pts        31%          42%      35%      34%       35%      2% pts      2% pts      4% pts        49%        65%         53%           50%       52%         4% pts           1% pts     3% pts
                                                   Emerging Countries                        13%         0%           6%          -4%     -12%         5%        -9%           -6%         0%        -1%    -11% pts         6%          10%       8%       6%        5%      0% pts      0% pts     -1% pts        18%        31%         26%           17%       20%         0% pts           3% pts     3% pts
                                                   BRIC                                      18%         0%           1%         -16%     -18%         3%       -10%           -9%        -1%        -2%    -17% pts         7%          11%       9%       6%        5%      0% pts      0% pts     -1% pts        18%        31%         27%           16%       21%         1% pts           5% pts     3% pts
                                                   Total w/o Greater China                    2%        -1%           2%           3%       4%         7%        -5%            2%        0%          1%      3% pts        14%          22%      17%      14%       15%      0% pts      0% pts      0% pts        34%        51%         40%           35%       36%         2% pts           2% pts     2% pts
                                                   Emerging Countries w/o Greater China      29%         5%           7%           3%     -10%        10%        -5%            1%         5%         2%    -13% pts         5%           7%       6%       5%        4%      0% pts     -1% pts     -1% pts        15%        25%         20%           15%       15%         0% pts           0% pts     0% pts

                                          Apple Reported Growth Rate = Apple reported for all quarters
                                          IDC Market Growth Rate = IDC reported for all quarters                                                                                                                                                                                                                          Apple growth outpaced market
                                          Apple IDC $ Share = IDC Reported Apple / IDC Market                                                                                                                                                                                                                             Positive growth
                                          Apple IDC Units -- Prior quarter = IDC Reported Apple / IDC Market
                                          Apple IDC Units -- Current quarter = Apple Reported / IDC Market



       8d. Market Stats - Preliminary IDC Market Share Analysis - iPhone                                                                                                                                                  CONFIDENTIAL                                                                                                                                                                               10/4/18 1:26 PM




Highly Confidential                                                                                                                                                                                                                                                                                                                                                                                APL-SECLIT_00281868
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